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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                   Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988                 www.ca6.uscourts.gov




                                      Filed: February 01, 2022



Mr. Nathan A. Bicks
Burch, Porter & Johnson
130 N. Court Avenue
Memphis, TN 38103

Mr. Christopher E. Cotten
Office of the U.S. Attorney
167 N. Main Street, Suite 800
Memphis, TN 38103

                     Re: Case No. 22-5075, USA v. Katrina Robinson
                         Originating Case No. : 2:20-cr-20148-1

Dear Counsel,

   This appeal has been docketed as case number 22-5075 with the caption that is enclosed on a
separate page.

    Even if the defendant filed the notice of appeal, Sixth Circuit Rule 12(c)(1) requires that
counsel continue representation on appeal until specifically relieved by this Court. If a convicted
defendant did not qualify to proceed in forma pauperis in the district court but appears to qualify
on appeal, Sixth Circuit Rule 24 requires that "trial counsel must see that the defendant
completes CJA Form 23 (for an incarcerated defendant) or Fed. R. App. P. Form 4 (for a
defendant not incarcerated) and files it in the district court." Counsel's failure to act in this
situation may result in adverse action from this court.

   Before preparing any documents to be filed, counsel are strongly encouraged to read the Sixth
Circuit Rules at www.ca6.uscourts.gov. If you have not established a PACER account and
registered with this court as an ECF filer, you should do so immediately. Your password for
district court filings will not work in the appellate ECF system.
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    At this stage of the appeal, the following forms should be downloaded from the web site and
filed with the Clerk's office by February 15, 2022. Additionally, the transcript order must be
completed by that date. For further information and instructions on ordering transcript
electronically, please visit the court's website.

                   Appellant:    Appearance of Counsel
                                 Application for Admission to 6th Circuit Bar (if applicable)

                   Appellee:     Appearance of Counsel
                                 Application for Admission to 6th Circuit Bar (if applicable)

   More specific instructions are printed on each form. If the filing fee for the appeal is due
because the appellant is not indigent, it must be paid to the District Court by February 15,
2022. These deadlines are important -- if the initial forms are not timely filed or the filing fee is
due but not paid, the appeal will be dismissed for want of prosecution.

   If you have questions after reviewing the forms and the rules, please contact the Clerk's office
for assistance.

                                                   Sincerely yours,

                                                   s/Leon T. Korotko
                                                   Case Manager
                                                   Direct Dial No. 513-564-7069

cc: Ms. Naya Bedini
    Mr. Charles Silvestri Higgins
    Ms. Raney Irwin
    Mr. Louis Mathewes Jehl
    Mr. Lawrence J. Laurenzi
    Mr. Scott Patrick Smith
    Ms. Janika N. White

Enclosure
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            OFFICIAL COURT OF APPEALS CAPTION FOR 22-5075




UNITED STATES OF AMERICA

         Plaintiff - Appellant

v.

KATRINA ROBINSON

         Defendant - Appellee
